   Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 1 of 38 PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 TRIUMPH IP LLC,
                                                       C.A. NO. ______________
                        Plaintiff,
    v.                                                 JURY TRIAL DEMANDED

 UTSTARCOM, INC.,                                      PATENT CASE

                        Defendant.

                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Triumph IP LLC files this Original Complaint for Patent Infringement against

UTStarcom, Inc., and would respectfully show the Court as follows:

                                        I. THE PARTIES

         1.     Plaintiff Triumph IP LLC (“Triumph” or “Plaintiff”) is a Texas limited liability

company having an address at 1401 Lavaca Street, Suite 922, Austin, TX 78701.

         2.     On information and belief, Defendant UTStarcom, Inc. (“Defendant”) is a

corporation organized and existing under the laws of Delaware, with a registered agent at The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE

19801.

                               II. JURISDICTION AND VENUE

         3.     This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has subject matter jurisdiction of such action under 28 U.S.C. §§ 1331

and 1338(a).

         4.     On information and belief, Defendant is subject to this Court’s specific and general

personal jurisdiction, pursuant to due process and the Delaware Long-Arm Statute, due at least to

its business in this forum, including at least a portion of the infringements alleged herein.




                                                  1
   Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 2 of 38 PageID #: 2




Furthermore, Defendant is subject to this Court’s specific and general personal jurisdiction because

Defendant is a Delaware corporation.

       5.      Without limitation, on information and belief, Defendant has derived revenues from

its infringing acts occurring within Delaware. Further, on information and belief, Defendant is

subject to the Court’s general jurisdiction, including from regularly doing or soliciting business,

engaging in other persistent courses of conduct, and deriving substantial revenue from goods and

services provided to persons or entities in Delaware. Further, on information and belief, Defendant

is subject to the Court’s personal jurisdiction at least due to its sale of products and/or services

within Delaware. Defendant has committed such purposeful acts and/or transactions in Delaware

such that it reasonably should know and expect that it could be haled into this Court as a

consequence of such activity.

       6.      Venue is proper in this district under 28 U.S.C. § 1400(b). On information and

belief, Defendant is incorporated in Delaware. Under the patent venue analysis, Defendant resides

only in this District. On information and belief, from and within this District Defendant has

committed at least a portion of the infringements at issue in this case.

       7.       For these reasons, personal jurisdiction exists and venue is proper in this Court

under 28 U.S.C. § 1400(b).

                             III. COUNT I
       (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 7,177,291)

       8.      Plaintiff incorporates the above paragraphs herein by reference.

       9.      On February 13, 2007, United States Patent No. 7,177,291 (“the ‘291 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The ‘291 Patent is titled

“Method for Associating an Apparatus in a Communication Network.” The term of the ‘291 patent




                                                  2
   Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 3 of 38 PageID #: 3




has been adjusted by 1,126 days. A true and correct copy of the ‘291 Patent is attached hereto as

Exhibit A and incorporated herein by reference.

       10.     Triumph is the assignee of all right, title, and interest in the ‘291 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ‘291 Patent. Accordingly, Triumph possesses the exclusive right

and standing to prosecute the present action for infringement of the ‘291 Patent by Defendant.

       11.     The invention in the ‘291 Patent relates to the field of associating an apparatus to a

communication network capable of sharing the same transmission frequency resources as another

neighboring network. (Ex. A at col. 1:9-12). The inventor’s recognized inefficiencies of the prior

art when the collision of the frames originating from two networks contacting the same apparatus

and developed an improved method. (Id. at col. 1:38-40).

       12.     Local networks using sharing of the radio resource in Frequency Division Multiple

Access (“FDMA”) mode are required to use one channel from among a finite set of channels,

which is given and granted by the standardizing bodies. (Id. at col. 1:19-22). To avoid mutual

disturbance, it is oven advisable to implement techniques for probing various channels. (Id. at col.

1:23-24). Equipment wishing to create a wireless network will listen to channels and choose a

channel which it deems to be free of any radio activity, using a dynamic frequency selection

(“DFS”) mechanism. (Id. at col. 1:26-30). However, when there are multiple local networks, it is

possible that two networks, though geographically close, may have chosen the same frequency,

without interfering with one another. (Id. at col. 1:31-34). This is all the more probable the lower

the number of channels dedicated to this service. (Id. at col. 1:34-35). It may be the case where an

apparatus which has to associate itself with a network may also be able to communicate with a




                                                  3
   Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 4 of 38 PageID #: 4




base station of another network, causing the problem of the collision of frames originating from

the two networks at the level of the apparatus. (Id. at col. 1:36-40).

        13.     The inventors recognized that they could reduce the collision of frames in a

communications network when associating an apparatus to a first communication network by

performing the steps of detecting by the apparatus a first transmission channel, determining a

collision on the channel between signals originating from the first network and from a second

network; in case of collision, transmitting a change of channel request to the first network, and

associating the apparatus with a base station of the first network following non-detection of a

collision. (Id. at col. 4:41-53).

        14.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claim 1 of the ‘291 patent in Delaware, and elsewhere in the United States, by

performing actions comprising at least performing the claimed process for associating an apparatus

to a first communication network with transmissions in the first network being performed on a first

channel using the UTStarcom UOA5430-O Dual-band 802.11ac Outdoor Access Point (“Accused

Instrumentality”) (e.g., https://www.utstar.com/?q=uoa5430-o).

        15.     The Accused Instrumentality practices a process for associating an apparatus (e.g.,

associating client devices such as a smartphone, etc.) to a first communication network (e.g., Wi-

Fi network of the Accused Instrumentality), with transmissions in the first network (e.g., Wi-Fi

network of the Accused Instrumentality), being performed on a first channel (e.g., a

communication channel). The Accused Instrumentality supports IEEE 802.11n/ac standard and

acts as a Wi-Fi access point. It connects an associating client device such as a smartphone, etc.

over a first communication channel (e.g., primary channel or primary channel along with

secondary channel for high throughput) on Wi-Fi network according to the standard. (E.g.,




                                                  4
   Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 5 of 38 PageID #: 5




http://www.utstar.com/;                                  https://www.utstar.com/?q=uoa5430-o;

https://www.utstar.com/sites/default/files/resources/uoa5430-o_data_sheet.pdf;

https://standards.ieee.org/standard/802_11n-2009.html;                 https://www.electronics-

notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-bandwidth.php).




(E.g., https://www.utstar.com/?q=uoa5430-o).




                                               5
   Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 6 of 38 PageID #: 6




(E.g., https://www.utstar.com/sites/default/files/resources/uoa5430-o_data_sheet.pdf).




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).




                                                6
   Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 7 of 38 PageID #: 7




(E.g., https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-

frequencies-bands-bandwidth.php).




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).


       16.     Upon information and belief, the Accused Instrumentality practices detecting by

the apparatus (e.g., associating client devices such as a smartphone, etc.) of the first transmission

channel (e.g., primary channel or primary channel along with secondary channel for high



                                                 7
   Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 8 of 38 PageID #: 8




throughput). The Accused Instrumentality supports IEEE 802.11n/ac standard and acts as a Wi-

Fi access point. It connects with associating client devices according to the standard. It sends high

throughput operation elements along with details of a primary and secondary channel pair for data

transmission to the associating client devices. An associating client device detects a first

communication channel (e.g., primary channel or primary channel along with secondary channel

for high throughput) accordingly.




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).




                                                 8
   Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 9 of 38 PageID #: 9




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).




                                               9
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 10 of 38 PageID #: 10




(E.g., https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-

frequencies-bands-bandwidth.php).




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).


       17.    Upon information and belief, the Accused Instrumentality practices the determining

of a collision on said channel between signals originating from the first network (e.g., Wi-Fi

network of the Accused Instrumentality) and from a second network (e.g., another Wi-Fi network




                                               10
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 11 of 38 PageID #: 11




of nearby access point, radar, etc.). The Accused Instrumentality supports IEEE 802.11n/ac

standard and acts as a Wi-Fi access point. It sends high throughput operation elements along with

details of a primary and secondary channel pair for data transmission to the associating client

devices. An associating client device detects a first communication channel (e.g., primary channel

or primary channel along with secondary channel for high throughput) accordingly. While having

connection with the associating client device over the first communication channel (e.g., primary

channel or primary channel along with secondary channel for high throughput), the associating

client device can determine a utilization of the primary or secondary channel (i.e., collision on a

channel) by another Wi-Fi network, radar system, etc.




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).




                                                11
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 12 of 38 PageID #: 12




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).




(E.g., https://standards.ieee.org/standard/802_11-2007.html).




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).




                                               12
  Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 13 of 38 PageID #: 13




       18.     Upon information and belief, the Accused Instrumentality practices, when said

collision has been determined, transmitting a change of channel (e.g., another communication

channel) request to the first network (e.g., Wi-Fi network of the Accused Instrumentality). When

an associating client device detects utilization of the primary or secondary channel (i.e., collision

on a channel) by another Wi-Fi network, radar system, etc., the associating client device sends

channel switch request. The Accused Instrumentality receives the request to switch the impacted

channel from the associating client device.




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).



                                                 13
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 14 of 38 PageID #: 14




(E.g., https://standards.ieee.org/standard/802_11-2007.html).




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).




                                               14
  Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 15 of 38 PageID #: 15




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).

       19.     Upon information and belief, the Accused Instrumentality practices associating the

apparatus (e.g., associating client devices such as a smartphone, etc.) with a base station (e.g., the

Accused Instrumentality) of the first network (e.g., Wi-Fi network of the Accused Instrumentality),

following non-detection of collision. The Accused Instrumentality supports IEEE 802.11n/ac

standard and acts as a Wi-Fi access point. Upon receiving a switch channel request from an

associating client device, the Accused Instrumentality switches the communication channel from

the impacted channel pair to a new channel pair of primary and secondary device. In case of

detection of non-utilization of the new primary or secondary channel (i.e., collision on a channel)

by another Wi-Fi network, radar system, etc., the associating client device connects with the

Accused Instrumentality over the communication channel.



                                                 15
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 16 of 38 PageID #: 16




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).




                                               16
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 17 of 38 PageID #: 17




(E.g., https://standards.ieee.org/standard/802_11-2007.html).




(E.g., https://standards.ieee.org/standard/802_11n-2009.html).

                             IV. COUNT II
       (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 7,523,479)

       20.     Plaintiff incorporates the above paragraphs herein by reference.

       21.     On April 21, 2009, United States Patent No. 7,523,479 (“the ‘479 Patent”) was duly

and legally issued by the United States Patent and Trademark Office. The ‘479 Patent is titled

“Dynamically Changing Communication Modes.” The term of the ‘479 patent has been adjusted

by 1,332 days. A true and correct copy of the ‘479 Patent is attached hereto as Exhibit B and

incorporated herein by reference.


                                               17
  Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 18 of 38 PageID #: 18




       22.     Triumph is the assignee of all right, title and interest in the ‘479 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ‘479 Patent. Accordingly, Triumph possesses the exclusive right

and standing to prosecute the present action for infringement of the ‘479 Patent by Defendant.

       23.     The invention in the ‘479 Patent relates to the field of communications systems,

more particularly to communication modes in communication systems. (Ex. B at col. 1:6-8).

       24.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claim 1 of the ‘479 Patent in Delaware, and elsewhere in the United States, by

performing actions comprising at least performing the claimed method for implementing a first

and a second communication mode for a communication terminal by performing the steps of the

claimed invention using the UTStarcom UOA5430-O Dual-band 802.11ac Outdoor Access Point

(“Accused Instrumentality”) (e.g., https://www.utstar.com/?q=uoa5430-o).

       25.     The Accused practices a method for implementing a first (e.g., operating in a first

channel width) and a second communication mode (e.g., operating in another channel width) for a

communication terminal (e.g., the Accused Instrumentality). The Accused Instrumentality

supports IEEE 802.11ac standard. It also supports operating mode changing functionality, in which

it sends/receives a notification to change a current operating mode (e.g., operating in a first channel

width) to another operating mode (e.g., operating in another channel width). (E.g.,

http://www.utstar.com/;                                      https://www.utstar.com/?q=uoa5430-o;

https://www.utstar.com/sites/default/files/resources/uoa5430-o_data_sheet.pdf;

https://standards.ieee.org/standard/802_11n-2009.html;                       https://www.electronics-

notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-bandwidth.php).




                                                  18
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 19 of 38 PageID #: 19




(E.g., https://www.utstar.com/?q=uoa5430-o).




(E.g., https://www.utstar.com/sites/default/files/resources/uoa5430-o_data_sheet.pdf).




                                               19
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 20 of 38 PageID #: 20




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




                                               20
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 21 of 38 PageID #: 21




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




                                               21
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 22 of 38 PageID #: 22




       26.     Upon information and belief, the Accused Instrumentality practices implementing

the first communication mode (e.g., operating in a first channel width) based on a first data

communication mode identifier (e.g., a channel width identifier indicated in operating mode field),

the implementing including receiving at the communication terminal (e.g., the Accused

Instrumentality) a first type of data (e.g., data communication between the Accused Instrumentality

and associated devices over Wi-Fi network) in accordance with a first communication standard

(e.g., 802.11ac standard). The Accused Instrumentality implements a first channel width to

communicate with its accessory devices over 802.11ac network.




                                                22
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 23 of 38 PageID #: 23




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).



                                               23
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 24 of 38 PageID #: 24




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).


                                               24
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 25 of 38 PageID #: 25




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).


       27.    Upon information and belief, the Accused Instrumentality practices receiving from

an agent external (e.g., an accessory device which is operating mode notification capable

associated over Wi-Fi network) to the communication terminal (e.g., the Accused Instrumentality)

a first message authorizing (e.g., a first message indicating operating mode capability) a change

from the first communication mode (e.g., a channel width) to the second communication mode

(e.g., another channel width). At least in internal testing and usages, an accessory device

supporting IEEE 802.11ac standard, communicates its extended capability of operating mode

notification capable during association/reassociation to the Accused Instrumentality. The




                                               25
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 26 of 38 PageID #: 26




accessory device authorizes the Accused Instrumentality to implement operating mode changing

functionality by providing extended capability to the Accused Instrumentality.




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




                                               26
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 27 of 38 PageID #: 27




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).


       28.    Upon information and belief, the Accused Instrumentality practices receiving from

the agent external (e.g., an accessory device which is operating mode notification capable

associated over Wi-Fi network) to the communication terminal (e.g., the Accused Instrumentality)

a second message (e.g., operating mode changing notification) comprising a second data




                                               27
  Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 28 of 38 PageID #: 28




communication mode identifier (e.g., another channel width identifier indicated in operating mode

field) specifying a communication mode (e.g., another channel width). At least in internal testing

and usages, an accessory device supporting IEEE 802.11ac standard, notifies the Accused

Instrumentality of changing operating mode through transmitting operating mode changing

notification.




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




                                               28
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 29 of 38 PageID #: 29




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




                                               29
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 30 of 38 PageID #: 30




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




                                               30
  Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 31 of 38 PageID #: 31




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).

       29.     Upon information and belief, the Accused Instrumentality practices, responsive to

receiving the first message (e.g., a first message indicating operating mode capability) and the

second message (e.g., operating mode changing notification), implementing the second

communication mode (e.g., another channel width) if the second communication mode identifier

(e.g., another channel width identifier indicated in operating mode field) is different than the first

communication mode identifier (e.g., a channel width identifier indicated in operating mode field),

the second communication mode (e.g., another channel width) different than the first

communication mode (e.g., a channel width), otherwise maintaining implementation of the first

communication mode (e.g., a channel width) if the second communication mode identifier (e.g.,

another channel width identifier indicated in operating mode field) is the same as the first

communication mode identifier (e.g., a channel width identifier indicated in operating mode field).

When the Accused Instrumentality receives operating mode change notification comprising the

second operating mode identifier, the Accused Instrumentality switches to the second operating


                                                 31
  Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 32 of 38 PageID #: 32




mode (e.g., changing operating from a first channel width to another channel width). However,

when the operating mode change notification is related to spatial streams, the notification does not

comprise an identifier for the second operating mode; the Accused Instrumentality keeps operating

at the first channel width (e.g., a first operating mode) only.




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




                                                  32
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 33 of 38 PageID #: 33




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




                                               33
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 34 of 38 PageID #: 34




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




                                               34
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 35 of 38 PageID #: 35




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




                                               35
 Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 36 of 38 PageID #: 36




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).




                                               36
  Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 37 of 38 PageID #: 37




(E.g., https://standards.ieee.org/standard/802_11ac-2013.html).

        30.    Plaintiff has been damaged as a result of Defendant’s infringing conduct. Defendant

is thus liable to Plaintiff for damages in an amount that adequately compensates Plaintiff for such

Defendant’s infringement of the ‘291 Patent and ‘479 Patent, i.e., in an amount that by law cannot

be less than would constitute a reasonable royalty for the use of the patented technology, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

        31.    On information and belief, Defendant has had at least constructive notice of the

‘291 Patent, and ‘479 Patent, by operation of law and marking requirements have been complied

with.

                                      V. JURY DEMAND

        Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.




                                                 37
  Case 1:21-cv-01212-MN Document 1 Filed 08/25/21 Page 38 of 38 PageID #: 38




                                  VI. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court find in its favor and against

Defendant, and that the Court grant Plaintiff the following relief:

       a.      Judgment that one or more claims of United States Patent No. 7,177,291 have been
               infringed, either literally and/or under the doctrine of equivalents, by Defendant;

       b.      Judgment that one or more claims of United States Patent No. 7,523,479 have been
               infringed, either literally and/or under the doctrine of equivalents, by Defendant;

       c.      Judgment that Defendant account for and pay to Plaintiff all damages to and costs
               incurred by Plaintiff because of Defendant’s infringing activities and other conduct
               complained of herein;

       d.      That Plaintiff be granted pre-judgment and post-judgment interest on the damages
               caused by Defendant’s infringing activities and other conduct complained of
               herein;

       e.      That Plaintiff be granted such other and further relief as the Court may deem just
               and proper under the circumstances.



 August 25, 2021                                  CHONG LAW FIRM P.A.

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                                                 38
